                          UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF TENNESSEE
                                  AT GREENEVILLE


MYOKA INGRAM,                                           )
         Petitioner,                                    )
                                                        )
v.                                                      )      NO. 2:11-CR-35
                                                        )      NO: 2:12-CV-233
UNITED STATES OF AMERICA,                               )      Judge Greer
          Respondent.                                   )

                                  MEMORANDUM OPINION

       Myoka Ingram (“Petitioner” or “Ingram”), a federal prisoner, has filed a “28 USC 2255

Motion to Vacate Set aside or reduce Sentence by Depierre Claim”, [Doc. 85]. Pursuant to Rule

4(b) of the Rules Governing § 2255 Proceedings, the Court has examined the motion and determined

that it plainly appears from the motion and the record of prior proceedings that Ingram is not entitled

to relief. Therefore, the United States Attorney will not be required to file an answer, motion, or

other response and no evidentiary hearing is necessary. Accordingly, the motion will be DENIED.

                            I. Procedural And Factual Background

       Petitioner was indicted by the federal grand jury on April 12, 2011, [Doc. 1]. Ingram was

charged in two counts of the nine count indictment. In Count One, she was charged, along with

Frank Quinton Gaitor, with conspiracy to distribute and possess with intent to distribute 28 grams

or more of cocaine base (“crack”) in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B). Count

Two charged Ingram and Gaitor with distribution of cocaine base (“crack”) in violation of 21 U.S.C.

§ § 841(a)(1) and (b)(1)(C) and 18 U.S.C. § 2. [Id.].

       On July 22, 2011, a plea agreement was filed with the Court wherein Ingram agreed, among

other things, to plead guilty to Count One of the indictment [Doc. 23]. The Court conducted a




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change of plea hearing on August 23, 2011 and accepted Ingram’s guilty plea to Count One. A

presentence report (“PSR”) was ordered. Ingram was determined to be a career offender and the

PSR established an offense level of 31 and a criminal history category of VI, resulting in an

undisputed advisory guidelines range of 188 to 235 months imprisonment. By statute, Ingram faced

a mandatory minimum term of imprisonment of 60 months.

       On December 12, 2011, the Court conducted a sentencing hearing. The government’s

motion for downward departure was granted and Ingram was sentenced to 84 months of

imprisonment, five years of supervised release and a $100.00 mandatory assessment. Count Two

was dismissed upon motion of the government. Judgment was entered on December 28, 2011, [Doc.

63]. The instant motion to vacate was then timely filed on June 4, 2012.

                                      II. Standard of Review

       This Court must vacate and set aside petitioner’s sentence if it finds that “the judgment was

rendered without jurisdiction, or that the sentence imposed was not authorized by law or otherwise

open to collateral attack, or that there has been such a denial or infringement of the constitutional

rights of the prisoner as to render the judgment vulnerable to collateral attack, . . .” 28 U.S.C. §

2255. Under Rule 4 of the Governing Rules, the Court is to consider initially whether the face of

the motion itself, together with the annexed exhibits and prior proceedings in the case, reveal the

movant is not entitled to relief. If it plainly appears the movant is not entitled to relief, the court

may summarily dismiss the § 2255 motion under Rule 4.

       When a defendant files a § 2255 motion, he must set forth facts which entitle him to relief.

Green v. Wingo, 454 F.2d 52, 53 (6th Cir. 1972); O’Malley v. United States, 285 F.2d 733, 735 (6th

Cir. 1961). “Conclusions, not substantiated by allegations of fact with some probability of verity,


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are not sufficient to warrant a hearing.” O’Malley, 285 F.2d at 735 (citations omitted). A motion

that merely states general conclusions of law without substantiating allegations with facts is without

legal merit. Loum v. Underwood, 262 F.2d 866, 867 (6th Cir. 1959); United States v. Johnson, 940

F. Supp. 167, 171 (W.D. Tenn. 1996). To warrant relief under 28 U.S.C. § 2255 because of

constitutional error, the error must be one of constitutional magnitude which had a substantial and

injurious effect or influence on the proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637 (1993)

(citation omitted) (§ 2254 case); Clemmons v. Sowders, 34 F. 3d 352, 354 (6th Cir. 1994). See also

United States v. Cappas, 29 F.3d 1187, 1193 (7th Cir. 1994) (applying Brecht to a § 2255 motion).

If the sentencing court lacked jurisdiction, then the conviction is void and must be set aside.

Williams v. United States, 582 F. 2d 1039, 1041 (6th Cir.), cert. denied, 439 U.S. 988 (1978). To

warrant relief for a non-constitutional error, petitioner must show a fundamental defect in the

proceeding that resulted in a complete miscarriage of justice or an egregious error inconsistent with

the rudimentary demands of fair procedure. Reed v. Farley, 512 U.S. 339, 354 (1994); Grant v.

United States, 72 F. 3d 503, 506 (6th Cir.), cert. denied, 517 U.S. 1200 (1996). In order to obtain

collateral relief under § 2255, a petitioner must clear a significantly higher hurdle than would exist

on direct appeal. United States v. Frady, 456 U.S. 152 (1982).

                                  III. Analysis And Discussion

       The petitioner appears to make a single claim in her motion: Under the recent United States

Supreme Court decision in DePierre v. United States, 131 S. Ct. 2225 (2011), the Court must vacate

her conviction. Although the precise nature of her claim is not clear, petitioner apparently claims

that DePierre has “altered the class of persons that the law punishes” and, when applied to her case,

means that she cannot be punished under 21 U.S.C. § § 841(a) and (b)(1)(B).


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        The Supreme Court decision in DePierre does not even arguably support petitioner’s claim

and has no bearing on any legal or factual issue in her case. In DePierre, the Supreme Court held

that the term “cocaine base” found in 21 U.S.C. § 841(b)(1) means “the chemically basic form of

cocaine.” Id. at 2237. DePierre had asked the district court for a jury instruction that in order to find

him guilty of distribution of cocaine base it must find that the offense involved “the form of cocaine

base known as crack cocaine.” Id. at 2231. The First Circuit affirmed the district court’s refusal to

give the requested instruction, holding that cocaine base in the statute referred to all forms of

cocaine base, “including but not limited to crack cocaine.” Id. at 2231 (quoting United States v.

DePierre, 559 F.3d 25, 30-31 (1st Cir. 2010). In other words, “cocaine base” applies more broadly

than to just crack cocaine and applies to all forms of cocaine in its basic form. Id. at 2231-32.

        As noted above, Ingram’s argument is difficult to discern. As part of her plea agreement in

this case, Ingram entered into a stipulation of facts necessary to establish an adequate factual basis

for her guilty plea. In that stipulation, Ingram agreed that she “conspired to distribute and possess

with the intent to distribute twenty-eight (28) grams or more of a mixture and substance containing

cocaine base (crack), . . .” [Doc. 23 at ¶ 5]. Ingram further admitted that she assisted “in the sale of

cocaine base (crack) to a cooperating individual” on January 7, 2011 and that she assisted Gaitor on

January 12 and 13, 2011 with the sale of “approximately 2.7 grams of cocaine base (crack)” to the

confidential informant. Finally, Ingram agreed that, for purposes of the Sentencing Guidelines

calculation, “the defendant is accountable for at least 28 grams but less than 35 grams of cocaine

base (crack).”

        To the extent that Ingram’s argument is that her case did not involve a substance that violated

the provisions of the law under which the defendant was charged in the indictment, that argument


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clearly fails because Ingram admitted that her offense involved “cocaine base (crack).” To the

extent she somehow challenges the sufficiency of the evidence used to convict her, that argument

likewise fails. Questions of sufficiency of the evidence are not cognizable on a motion under 28

U.S.C. § 2255. See United States v. Osborn, 415 F.2d 1021, 1024 (6th Cir. 1969) (en banc), cert.

denied 396 U.S. 1015 (1970) (holding that one may challenge the sufficiency of the evidence on

direct appeal from the conviction and the claim is not cognizable in a subsequent § 2255 motion).
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        Petitioner also points to United States v. Flaherty, 295 F.3d 182 (2d Cir. 2000) as “[a]n

example of a DePierree [sic] error.” The reference to that case is somewhat baffling and the case

has absolutely nothing to do with the issue raised in DePierre. In Flaherty, the defendant raised a

claim of error under Apprendi v. New Jersey, 530 U.S. 466, 490 (2000) (“Other than the fact of a

prior conviction, any fact that increased the penalty for a crime beyond the prescribed statutory

maximum must be submitted to a jury, and proved beyond a reasonable doubt.”). Although Flaherty

was found to be subject to a mandatory minimum sentence, the indictment did not contain any

allegation as to drug quantity. The drug quantity issue, however, was submitted to the jury for

determination under the beyond a reasonable doubt standard through the use of interrogatories.

Under those circumstances, the Second Circuit held that, applying plain error review, Flaherty had

suffered no prejudice which would affect his substantial rights or seriously affect the fairness,

integrity, or public reputation of the proceedings because the quantity issue was actually submitted



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           If Ingram is arguing that the government is required to prove the chemical composition of the
controlled substance and has failed to do so, DePierre, the holding of which is decidedly narrow, does not
address the type of proof the government must use to prove that the offense involved “cocaine base.”
DePierre merely defines the term “cocaine base.” DePierre, 131 S. Ct. at 2231-32. In any event, Ingram
has admitted that she is responsible for a conspiracy to distribute “cocaine base (crack).”

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to the jury and decided beyond a reasonable doubt. If Ingram is raising an Apprendi claim here, it

lacks merit. The quantity necessary to invoke the 60 month mandatory minimum was clearly

charged in the indictment and admitted by her at the time of her guilty plea.

                                          IV.Conclusion

       For the reasons set forth above, the Court holds petitioner’s conviction and sentencing were

not in violation of the Constitution or laws of the United States. Accordingly, her motion to vacate,

set aside or correct her sentence pursuant to 28 U.S.C. § 2255 will be DENIED and the motion

DISMISSED.

       Under 28 U.S.C. § 2253(c)(2), the Court must determine whether a certificate of

appealability should be granted. A certificate should issue if petitioner has demonstrated a

“substantial showing of a denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The Sixth

Circuit Court of Appeals disapproves of the issuance of blanket denials of certificates of

appealability. Murphy v. Ohio, 263 F.3d 466 (6th Cir. 2001). The district court must “engage in a

reasoned assessment of each claim” to determine whether a certificate is warranted. Id. at 467.

Each issue must be considered under the standards set forth by the Supreme Court in Slack v.

McDaniel, 529 U.S. 473 (2000). Id.

       Under Slack, to warrant a grant of the certificate, “[t]he petitioner must demonstrate that

reasonable jurists would find the district court's assessment of the constitutional claims debatable

or wrong." Having examined the petitioner’s claim under the Slack standard, the Court finds that

reasonable jurists could not find that this Court’s dismissal of petitioner’s claims was debatable or

wrong. Therefore, the Court will deny petitioner a certificate of appealability.

       A separate judgment will enter.


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      ENTER:

                                                s/J. RONNIE GREER
                                          UNITED STATES DISTRICT JUDGE




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